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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE


ERNEST J. GLYNN, et al.              )
                                     )
                     Plaintiffs,     )
                                     )                       CIVIL ACTION NO. 19-cv-00176-NT
               v.                    )
                                     )
MAINE OXY-ACETYLENE SUPPLY           )
COMPANY, ET AL.,                     )
                                     )
                     Defendants.     )
____________________________________)
MARTIN J. WALSH, Secretary of Labor, )
United States Department of Labor,   )
                                     )
                     Plaintiff,      )
                                     )                       CIVIL ACTION NO. 20-cv-00326-NT
               v.                    )
                                     )
MAINE OXY-ACETYLENE SUPPLY           )
COMPANY, DANIEL GUERIN,              )
BRYAN GENTRY, AND CARL PAINE )
____________________________________)

     SECRETARY’S RESPONSE TO DEFENDANTS’ MOTION TO CONSOLIDATE

        Following a March 2, 2022 conference of counsel in the Glynn class action, in which the

Secretary did not participate, Defendants filed a motion to consolidate for trial the above-

captioned actions. While the Secretary does not disagree with the legal standard for consolidation

as cited by Defendants in their motion (Dkt. 91 at 2), the Secretary files this response to clarify

his role in this litigation.1

        In filing his lawsuit, the Secretary acted on behalf of the Employee Benefits Security


1
 Although Defendants’ Motion is speckled with extraneous speculation about the Secretary’s litigation strategy and
comments on the merits of the case (Dkt. 91 at 3-4), the Secretary will not address them here. The Secretary also
notes that the motion states that the Secretary participated jointly in all depositions. ( Id. at 2). At least two
depositions, however, were taken in Glynn before the cases were consolidated for discovery.


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Administration, a law enforcement agency with the responsibility to enforce the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §1001, et seq. The Secretary is

not in the same position as the Glynn class plaintiffs, who have brought a class action to enforce

private rights. See, e.g., Secretary of Labor v. Fitzsimmons, 805 F.2d 682, 692-93 (7th Cir.

1986)(discussing differences between role of Secretary and private litigants in ERISA litigation:

“the government’s interest in bringing an ERISA action is to enforce fiduciary standards and

ensure the financial stability of billions of dollars of assets”). Additionally, while the Secretary

named the Maine Oxy-Acetylene Supply Company Employee Stock Ownership Plan Trustee

Carl Paine as a defendant, the Glynn class has not. Further, the Secretary seeks different ERISA

remedies from Defendants such as injunctive relief, as well as make-whole monetary relief.

       Nevertheless, in the interest of efficiently litigating these related matters, the Secretary

does not object to consolidation, provided that a clear process fully recognizing the Secretary’s

different role, claims, and named defendants in the two matters are adequately addressed in a

pre-trial Court order governing the litigation.

                                               Respectfully submitted,

                                               Secretary of Labor

                                               By his attorneys,

                                               Seema Nanda
                                               Solicitor of Labor

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                                             /s/ Niamh E. Doherty
                                             Niamh E. Doherty
                                             Senior Trial Attorney

Date: March 29, 2022




                                CERTIFICATE OF SERVICE

       I certify that on March 29, 2022, the foregoing Secretary’s Response to Defendants’
Motion to Consolidate was electronically filed with the U.S. District Court. Notice will
automatically be electronically mailed to the following individuals who are registered with the
U.S. District Court CM/ECF System:

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                                                    /s/ Donald E. d’Entremont
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